Case 2:04-cr-20395-SH|\/| Document 12 Filed 05/12/05 Page 1 of 2 Page|D 9

UNITED STATES OF AMERICA

_vs_

MICHAEL GREEN

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UNITED STATES DISTRICT COURT " ` °
WESTERN DISTRICT OF TENNESSEE r}: tag v f ?

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Western Division

 

Case No. 2:04cr20395-001Ma

 

ORDER OF DETENT|ON PEND|NG TR|AL

FlNDlNGS

ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been

held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the

community.

This conclusion is based on the findings and analysis of the matters enumerated in l 8 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

D|RECT|ONS REGARD|NG DETENT|ON

MICHAEL GREEN is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. MICHAEL GREEN shall be afforded a reasonable opportunity for private
consultation with defense counsel. 0n order of a Coun of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: May 5, 2005

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:04-CR-20395 was distributed by faX, mail, or direct printing on
May l2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

